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 8
                                 UNITED STATES DISTRICT COURT
 9                             SOUTHERN DISTRICT OF CALIFORNIA
10
11   ANGELINA MARSH, an individual,          ) Case No.: '15CV1847 JLS BLM
                                             )
12                Plaintiff,                 ) COMPLAINT AND DEMAND FOR
13                                           ) JURY TRIAL
     v.                                      )
14
                                             )
15   MOUNTAIN LION ACQUISITIONS, )
16
     INC., a corporation, and LAW OFFICE )
     OF D. SCOTT CARRUTHERS, a               )
17   professional law corporation; and DOES 1)
18   through 10, inclusive,                  )
                                             )
19                  Defendants.              )
20                                           )
21
22                                      I. INTRODUCTION
23          1.    This is an action for damages brought by an individual consumer against
24   Defendants for violation of the Fair Debt Collection Practices Act, 15 U.S.C. §1692, et seq.
25   (“FDCPA”) which prohibits debt collectors from engaging in abusive, deceptive, and unfair
26   practices.
27   //
28   //


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 1                                II. JURISDICTION AND VENUE
 2         2. Jurisdiction of this Court arises under 15 U.S.C. §1692k(d) and 28 U.S.C. §1331.
 3   Venue in this District is proper in that the Defendants transact business here and the conduct
 4   complained of occurred here.
 5                                            III. PARTIES
 6         3.     Plaintiff ANGELINA MARSH is a natural person residing in the state of
 7   California, County of San Diego.
 8         4.     Defendant MOUNTAIN LION ACQUISITIONS, INC. (“MOUNTAIN LION”)
 9   at all times relevant was a corporation in the business of collecting debts in San Diego
10   County, California operating from an address at 8448 Katella Avenue, Stanton, CA 90680.
11         5.     Defendant LAW OFFICE OF D. SCOTT CARRUTHERS (“CARRUTHERS”)
12   at all times relevant was a professional law corporation in the business of collecting debts in
13   San Diego County, California operating from an address at 8448 Katella Avenue, P.O. Box
14   228, Stanton, CA 90680.
15         6.      Defendants are engaged in the collection of debts from consumers using the
16   mail and telephone. Defendants regularly attempt to collect consumer debts alleged to be due
17   to another. Defendants are “debt collectors” as defined by the FDCPA, 15 U.S.C. §1692a(6).
18         7.     The true names and capacities, whether individual, corporate (including officers
19   and directors thereof), associate or otherwise of Defendants sued herein as DOES 1 through
20   10, inclusive, are unknown to Plaintiff, who therefore sues these Defendants by such
21   fictitious names. Plaintiff is informed and believes, and alleges that each Defendant
22   designated as a DOE is involved in or is in some manner responsible as a principal,
23   beneficiary, agent, co-conspirator, joint venturer, alter ego, third party beneficiary, or
24   otherwise, for the agreements, transactions, events and/or acts hereinafter described, and
25   thereby proximately caused injuries and damages to Plaintiff. Plaintiff requests that when the
26   true names and capacities of these DOE Defendants are ascertained, they may be inserted in
27   all subsequent proceedings, and that this action may proceed against them under their true
28   names.


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 1          8.    Plaintiff is a “consumer” as defined by the FDCPA, 15 U.S.C. §1692a(3).
 2          9.    The purported debt that Defendants attempted to collect from Plaintiff was a
 3   “debt” as defined by the FDCPA, 15 U.S.C. §1692a(5).
 4                                     IV. FACTUAL ALLEGATIONS
 5          10.   The FDCPA was enacted to “eliminate abusive debt collection practices by debt
 6   collectors, to insure those debt collectors who refrain from using abusive debt collection
 7   practices are not competitively disadvantaged, and to promote consistent state action to
 8   protect consumers against debt collection abuses.”
 9         11.    At a time unknown, MOUNTAIN LION and its attorney, CARRUTHERS,
10   (collectively “Defendants”) acquired information regarding an alleged Southeast Financial
11   Credit Union debt (the “Debt”) that Plaintiff had incurred.
12         12.    In November 2014, Defendants began calling Plaintiff in an attempt to collect
13   the DEBT.
14         13.    Over the course of several months, Defendants called Plaintiff on numerous
15   occasions in an attempt to collect the Debt.
16         14.    It is estimated that Defendants called Plaintiff over fifty times.
17         15.    Defendants called Plaintiff at work and on her cell phone.
18         16.    Plaintiff requested that Defendants stop calling her at work.
19         17.    Despite Plaintiff’s request to cease all communication, Defendants ignored
20   Plaintiff’s cease and desist request and continued to call her at work.
21         18.    Defendants continued to call her at work and spoke with employees at Plaintiff’s
22   work and disclosed details regarding the Debt.
23         19.    Defendants spoke with Plaintiff’s receptionist and boss at Plaintiff’s work and
24   disclosed details regarding the Debt.
25         20.    The amount and frequency of the calls rose to the level of harassment.
26         21.    As a result of the acts alleged above, Plaintiff suffered emotional distress.
27   //
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 1                                  V. FIRST CAUSE OF ACTION
 2                       (As against Defendants for Violation of the FDCPA)
 3         22.     Plaintiff repeats, realleges, and incorporates by reference all of the foregoing
 4   paragraphs.
 5         23.     Defendants violated the FDCPA. Defendants’ violations include, but are not
 6   limited to, the following:
 7                 (a)   The Defendants violated 15 U.S.C. § 1692b(1) by contacting a person
 8                       other than the Plaintiff and failing to identify him/herself, and/or failing to
 9                       state that he/she is confirming or correcting location information
10                       concerning the plaintiff.
11                 (b)   The Defendants violated 15 U.S.C. § 1692b(2) by communicating with
12                       persons other than the Plaintiff and stating that the Plaintiff owes debt;
13                 (c)   The Defendants violated 15 U.S.C. § 1692b(3) by communicating with
14                       persons other than the Plaintiff and contacting that person more than once;
15                 (d)   The Defendants violated 15 U.S.C. § 1692c(a)(1) by communicating
16                       with the Plaintiff at an unusual time or place and/or communicating
17                       with the Plaintiff at a time or place known or which should have been
18                       known to be inconvenient to the Plaintiff;
19                 (e)   The Defendants violated 15 U.S.C. § 1692c(a)(3) by contacting the
20                       Plaintiff’s place of employment when the debt collector knew or had
21                       reason to know that the Plaintiff’s employer prohibited such
22                       communication;
23                 (f)   The Defendants violated 15 U.S.C. § 1692c(b) by communicating with a
24                       third person in connection with the collection of a debt;
25                 (g)   The Defendants violated 15 U.S.C. § 1692d by engaging in conduct
26                       the natural consequence of which is to harass, oppress, or abuse
27                       Plaintiff in connection with the collection of the alleged debt;
28                 (h)   The Defendants violated 15 U.S.C. § 1692d(5) by causing the phone to


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 1                      ring or engaging a person in telephone conversations repeatedly with the
 2                      intent to harass, oppress, and abuse the Plaintiff in connection with the
 3                      collection of the Debt; and
 4                (i)   The Defendants violated 15 U.S.C. § 1692f by using unfair or
 5                       unconscionable means to collect or attempt to collect a debt.
 6         24.    As a result of the above violations of the FDCPA, Defendants are liable to the
 7   Plaintiff for Plaintiff’s actual damages, statutory damages, and attorney’s fees and costs
 8   pursuant to 15 U.S.C. §1692k.
 9
10         WHEREFORE, Plaintiff respectfully requests that judgment be entered against
11   Defendants and each of them for the following:
12                (a) Actual damages;
13                (b) Statutory damages pursuant to 15 U.S.C. §1692k;
14                (c) Costs and reasonable attorney’s fees pursuant to 15 U.S.C. §1692k; and
15                (d) For such other and further relief as the Court may deem just and proper.
16
17   Date: August 19, 2015
18                                           ______s/ Jeremy S. Golden____________________
19                                          Jeremy S. Golden
                                            Attorney for Plaintiff
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21                                   DEMAND FOR JURY TRIAL
22         Please take notice that Plaintiff demands trial by jury in this action.
23
24   Date: August 19, 2015
25                                          _______s/ Jeremy S. Golden____________________
26                                          Jeremy S. Golden
                                            Attorney for Plaintiff
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